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                           U NITED STA T ES D ISTR ICT C O U R T
                           SO UTH ER N D ISTR ICT O F FL O RIDA

                   CASE NO.19-14050-ClV-ROSENBERGN AYNA>
 NATIUNAL FIRE INS.CO.OF H ARTFORD,

       Plaintiffts),


 JO H N SO N C O NTR OL S FIR E PR O TE CTIO N ,LP,

       Defendantts).
                                                /

                       O R DER SETTIN G DISC O V ER Y PR O CED UR ES

       ThismatterisàeforethisCourtsuasponte.TheHonorable Robin L.Rosenberg,United.
 StatesDistrictJudge,hasreferred discovery m attersin thiscaseto the undersigned Uùited States

 M agistrateJudge.See28U.S.C.j636(b),
                                    'seealsoS.D.Fla.L.R.M ag.R.1.Inordertoefficiently
 resolve discovery disputes,the parties are hereby notified that the following nzles apply to

 discovery proceduresbeforethisCourt. Theseproceduresdo notapply to any discovery m otion

 currently pending beforethe tmdersigned,butshallapply to any discovery m otion filed afterthe

 date ofthis Order. These procedures are designed to assistthe parties and Courtin working

 togetherto timelyresolvediscovery disputeswithouttmduedelay and unnecessary expense.This

 Courtm ay declinetoconsideram otion orresponsewhich doesnotcomplywiththeseprocedures.

        1.     PR O C ED UR ES FO R D ISC OV ER Y D ISPUTE S

               Pre-hearine Com - unication.Ifadiscoverydisputearises,cotm selm ustactually (

 speak tooneanother(in person oronviatelephone)and engagein reasonablecompromisein a
 genuine effortto resolve their discovery dispptes before seeking Courtintervention. The Court

 expectsa1lpartiesto actcourteously and professionally in the resolution ofdiscovery disputesin
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 an attemptto resolvethediscovery issuepriorto setting ahearing.Even afteram otion istsled or

 hearing isset,the partiesareencouraged to continueto pursue settlem entofany disputed discovery

 m atters.lfthoseeffortsaresuccessful,counselshould contactJudgeM aynard'schambersassoon

 aspracticablesothatthehearingcanbetimelycanceled.Alternatively, ifthepartiesresolvesom e,

 butnotall,oftheirissuesbeforetheheadng,cotm selshalltim ely contad cham berstorelaywhich

 issuesareno longerin dispute.

        B.     Discoven M otions. 1f,after confening,the parties are unable to resolve their

 discovery disputeswithoutCourtintetwention,themovingparty shallfileamotion, no m orethan

 five(5)pagesinlength.Themovingpartymayattachasexhibitstothemotionmaterialsrelevant
 to the discovery dispute. Forexam ple,ifthe dispute ooncernsinterrogatories, the interrogatory

 responses (which restate the interrogatories) shall be filed, with an indication of which
 interrogatoriesrem ain in dispute.Becausethepartiesm ay attachrelevantdiscovery tothem otion,

 compliatwewith S.D.Fla.L.R.26.1(h)(2)or(3)isnotrequired.Themovantshallincludeinthe
 m otion a certificate of good faith thatcom pliesw ith S.D.Fla.L.
                                                                 R.7.1(a)(3).   The opposing
 party shalltilearesponéetothediscovery motionwithin five(5)daysofreceiptofthemotion.
 Theresponseshallbenomorethan five(5)pagesin length.Therespondingpartymayattach
 asexhibitsm aterialsrelevanttothediscoverydisputeasoutlined above. N o repliesare perm itted

 unless ordered by the C ourt.

        Ifthe Courtdeterm inesthata discovery hearing on the m otion isnecessary, cham berswill

 seta hearing date and tim e.

        These proceduresdo notrelievepartiesofthe requirem entsofany FederalRule ofCivil

 ProcedtlreorLocalRuleexceptasnoted above.




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               Expenses (Includinz Attornev's Feesà and Sanctions. ThisCourtremindsthe

 parties and counselthatFederalRule of CivilProcedure 37(a)(5)requires courts to award
 expenses,including fees,tmlessan exception (such astheexistenceofa substantiallyjustified,
 albeitlosing,discoveryposition)appliestothediscoverydisputeandruling.
        TheCourtexpectsallpartiesto actcourteously and professionally intheresolution oftheir

 discovery dispute. The Com'
                           t may im pose appropriate sanctions upon a finding of failure to

 com ply w ith this Order or otherdiscovery m isconduct.

        II.    SCOPE OF DISCOVERY AND OBJECTIONS

        A.     Rule26(b)(1).FederalRuleofCivilProcedlzre26(b)(1),asamendedonDecember
 1,2015,detinesthe scopeofperm issible discovery asfollows:

        Unless otherwise limited by courtorder,the scope of discovery is as follows:
        Partiesm ay obtain discovery regarding any nonprivileged m atterthatis relevantto
        any party's claim or defense and proportional to the needs of the case,
        considering the importance of the issues at stake in the action,the am ount in
        controversy, the parties' relative access to relevant inform ation, the parties'
        resources,theim portance ofthe discovery in rèsolving theissues, andwhetherthe
        burden or expense of the proposed discovery outweighs its likely benetk .
        lnformation withinthescopeofdiscovery need notbeadmissiblein evidencetobe
        discoverable.

 Therefore,an objedionthatadiscoveryrequestisnotreasonably calculatedtoleadtoadmissible
 evidence isbased upon an outdated discovery standard. Suchanobjectionismeaninglessandwill

 befokmdmeritlessbythisCourt.Anobjedionbasedonrelevanceorproportionalitymustinclude
 a specific explanation describing why the requested discovery lacks relevance and/orwhy the

 requesteddiscoveryisdisproportionatein lightofthefactorssetoutinRule26(b)(1).
       B.      Boilerplate or General Obiections. The parties shall not m ake nonspecific,

 boilerplateobjçctions. See,e.g.,LocalRule26.1(e)(2)(A)(CçW hereallobjection ismadeto any
 inten-ogatoryorsubpartthereofortoanyproductionrequestunderFederalRuleofCivilProcedure


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 34,theobjectionshallstatewith spedtkitya11grounds.'').ThepartiesalsoshallnotmakeGeneral
 Objeotionsthatarenottiedtoapartioulardiseoveryrequest.Suc,
                                                          hobjedionsaremeaninglessand
 w illbe found m eritless by this Court.

                Vague.Overlv Broad,and Undulv Burdensom e. Objectionsthatstatethata
 discovery request is Scvague, overly broad, or unduly burdensom e'' are, standing alone,

 meaningless,andwillbefoundmeritlessbythisCourt.A partyobjectingonthesegroundsmust
 explain the specific and particular w ay in w hich the request is vague,overly broad or tm duly

 burdensome.SeeFed.R.Civ.P.33(b)(4)and 34(b)(2)(B). In addition,claimsoftmdueburden
 should be supported by a statement (generally an affidavit) with specific irlformation
 demonstrating how the requestis overly burdensom e. See,e.g.,Sallah v. Worldwide Clearing

 LLC,855F.Supp.zd 1364,1376(S.D.Fla.2012).Ifapartybelievesthatarequestoraterm is
 vague,thatpartyshallattempttoobtainclarifkationfrom opposingcounselpriortoobjedingon
 vagueness grounds. Ifthe objecting party asset'
                                               tsthatthe requestseeksmaterialsthatare not
 relevant,theobjection should say so and explain why. Altem atively,iftheobjectorassertsthat
 therequestseeksm aterialsthataze relevant,butexcessiveorcum ulative, theobjectionshouldstate

 thattherequestisdism oportionate and explain w hy.

        If a party believes a discovery request seeks inform ation thatis irrelevant, unduly broad,

 blzrdensome,or disproportionate,thatparty shallconfer in good faith with opposing counselto

 narrow thesoopeoftherequestbeforeassertingtheseobjedions.Thatparty shallalso provide
 discovery asto thosem attersforwhich thescopeorburden isnotcontested. Forexam ple,ifthere

 isan objection basedupon thescope oftherequest,such astimefrnmeorgeographiclocation,
 discovery should be provided asto the time period orlocationsthatare notdisputed. Yhus,if

 discovery is soughtnationwide fora ten-yearperiod,and the responding party objectson the


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    groundsthatonly a five-yearperiod limitedto activitiesin the StateofFlorida isappropriate,the

    responding pal'ty shallprovide responsive discovery falling within the five-yearperiod as to the

    State ofFlorida.

           D.       Form ulaic ObiectionsFollow ed bv an Answ er. The parties shallnotrecite a

    fonnulaicobjection followedby allanswertotherequest. Ithasbecomecommonpracticefora
    party to objecton the basisofany ofthe above reasons,and then state,Stnotwithstanding the
    above,''the party willrespond to the discovery request,subjectto orwithoutwaiving such
    objection.Thistypeofobjectionandanswerpreservesnothingand servesonlytowastethetime
    and resources of the parties and this Court. Further,such practice leaves the requesting party

    uncertain asto w hetherthe question actually hasbeen fully answ ered orw hetheronly apodion of
.
    thequestionhasbeen answered.SeeABA CivilDiscovery Standazdsat18-19 (2004),available
          hdp'
             .//-      .americanbr .org/content/dae abiadm inistrative/liticatioilitication-aba-zoo4-

    civil-discovery-str dr ds.authcheckdnm .pdf.

           E.       Obiections Based Upon Privileze. Generalized objectionsasserting attomey-
    clientprivilege orw ork-productdoctrine also do notcom ply w ith the LocalRules. S.D .Fla.L.R .

    26.1(e)(2)(B)requiresthatobjectionsbased upon privilege identify the specifcnature ofthe
    privilegebeingasserted,aswellas,interalia,thenatureandsubjectmatterofthecommunication
    atissueandthesenderandreceiverofthecom munication andtheirrelationshipto each other.The

    partiesare instructed to carefully review thisruleand to refrain from generalnon-specificprivilege

    objections.lfageneralobjectionofprivilegeismadewithoutattachingaproperprivilegelog,the
    objectionofprivilegemay bedeemedtohavebeenwaived.




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      DONE AND ORDERED in Cham bers at Fort Pierce, Florida, this       ay of

February,2019.



                                            %       .
                                            SHA N IEK M .M A Y NA
                                            UNITED STATES M A GISTM TE JUDGE




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